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EXHIBIT A

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COMN[ONWEALTH O]E` MASSACHUSETTS

 

sUrFoLK, §§ . TRIAL coURr
` l SUPERIOR COURT DEPARTl\`/IEN_T .
CIVIL ACTION NO. l
l 2 " t 3 § 1 CF

Deborah A. Dawson, `) l ` ` `

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Portfolio Recovery Associates, LLC, ) COMPLAINT AND JURY TRIAL DEl\/EAND

Defendant. ) f

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I. INTRODUCTlON

Deborah A. c‘Debbie” Dawson is a disabled person Who suffers from severe persistent
anxiety, panic attacks, depression, agoraphobia, and chronic obstructive pulmonary disease
Even minor stressors, such as deadlines or difiicult conversations, can cause her to experience
blackout sensations, a racing heartbeat, and an overwhelming feeling of being suffocated.
Because of her crippling disability7 Ms. Dawson cannot Work. She has less than $10 in savings
Her disability is sc obvious that it becomes immediately apparent to those Who speak on the
phone With her.

Portfoli_o Recoyery Associates, LLC, (‘°Portfolio”) is a multinational corporation With
thousands of employees lt is a debtgcollect-or. For a prolonged periodi Portt`olio hounded Ms.
DaWson With constant phone calls, demanding payment on a debt she did not owe. When Ms.
Dawson told Portfolio that She had previously paid the debt in full, Port:folio did not relent.

lnstead, it continued to call her multiple times per day, speaking to her abusively and rudely as it

made its totally meritless demands for payment lt did so despite the fact that Ms. DaWson’s

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disabilities are so obvious‘that Portfolio'knevv or should have known that its actions Would cause

Ms. Dawson unbearable suffering Portfolio also sent her mailings demanding payment of a

variety of sums.~ .

Pcrtfolio’s payment demands exacerbated Ms. DaWson’s anxiety disorder and caused her
physical pain. Portfolio’s demands also triggered padiologically severe panic symptoms: she felt
her breath being pressed from her lungs by an unseen force; her vision began to go dark; she
perceived the Walls leaning in on her; she gasped desperately for air. Overcorne by these
symptoms, Ms. Dawson could only lie prostrate and Wait for her suffering to abate.

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1. Plaintiff Deborah A. “Debbie” Dawson is a resident of Massachusetts living at 110 Alden
Street in Dedham since 2011, With a prior address of 11 Enfield Street in Jamaica Plain.

2. Defendant Portfclio Recovery Associates, LLC (“Portfolio”) is, upon information and
belief, a Dela'\>vare Corpo'ration With a principal place of business at 120 Corporate
Boulevard, Norfolk, VA 23502.

d 3. Portfolio has a l\/Iassachusetts office located at 49 Winter Street, Weymouth, MA 02188.

4. Portfolio is a “debt collector” Within the meaning of the federal Fair Debt Collection
Practices Act (“FDCPA”). - n

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5. Defendant Portfolio regularly solicits and transacts business in the Cornmonwealth through
the collection of debts and has committed a tortious injury in the Commonwealth.
Accordingly, this Court has personal-jurisdiction over the Defendant pursuant to M.G.L. c,

_ 223A, § 3. l l

6. Venue is proper in this Court pursuant to M.G.L. c. 2234 § 8(4) in that Portfolio may sue or

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be sued in Suffolk County.

IV. STATEMENT OF FACTS
Deborah A. “Debbie”. Dawsonis a disabled§person and mother of one. She suffers from
generalized persistent anxiety, depression, agoraphobi_a, mental confusion, and panic
attacks Her panic attacks bring on extreme difficulty in breathing, blackouts, a racing heart
beat, and a crippling terror that she is about to die.
Ms. Dawson’s disability is obvious and self-evident due to her frequent onset of panic
symptoms, her audible difficulty breathing, her overwhelming feelings of anxiety and
sadness which often cause her to weep without apparent reason, her inability to concentrate
for more than a few minutes, and her unusually frequent digressions during conversation
She also suffers physical impairments as a result of chrome obstructive pulmonary disease
Because these mental and physical disabilities render Ms. Dawson unable to work, she has
less than $10 total in her bank accounts
On information and belief, Ms. Dawson once opened a credit card account with Cross
Countr"y Bank.
On information and belief, Ms. Dawson closed said account and paid off all outstanding
debtowed to Cross Country Bank. 1

Even had Ms. Dawson not paid off all outstanding debt owed on that account, on v

, information and belief, that debt would have been time-barred by the time Portfolio began

its collection efforts which are the subject of this action.
Portfolio repeatedly contacted Ms. Dawson via post and telephone, claiming that she owed
approximately $1,400.00 to “Midland Credit Management / Cross Country Bank” and

demanding that Ms. Dawson'pay various sums to settle this alleged debt. Upon information

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and belief, Portfolio made these demands for a period of at least twelve to eighteen months,
until at least April 6,` 2012.

Portfolio incessantly harassed Ms. Dawson with phone calls demanding payment on the
debt she did not _owe. Qn information and belief, for many months, Portfolio called Ms.
Dawson multiple times per day and gave her almosth respite from its meritlessdemands
for payment during this time.

Portfolio continued demanding payment even after it received repeated notice that Ms.
Dawson did not owe the debt. Portfolio requested Ms. Dawson’s consumer report on or
about September 26, 2010; upon information and belief, as a result of obtaining this report
Portfolio knew or should have known that l\/l`s. Dawson did not owe the alleged debt.

Furthermore, whenever Ms. Dawson spoke with Portfolio on the phone, she told Portfolio

4 that she had paid the debt in full.

When Ms. Dawson told Portfolio that it was mistaken and that she had paid the debt in full,
Portfolio refused to heed her dispute of the debt and instead demanded that Ms. Dawson
dispute the debt in writing Portfolio then continued its incessant collection attempts
Portfolio spoke to Ms. Dawson rudely, aggressively, and abusively in its telephone
demands to her.

Portfolio’s demands via post purported to offer Ms. Dawson something of value in
exchange for the demanded payments Portfolio variously“described this thing of value as,
for example, “INCREDIB_LE SAVINGS,” “SAVINGS,” and “a' solution just for you.”
Portfolio’s demands via post and phone did not include disclosures-that her alleged debt
was time~barred. vi

Portfolio’s phone calls and mailings caused Ms. Dawson to suffer physical pain and severe

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- emotional distress in the form of exacerbated anxiety symptoms and panic attacks

As a result of Portfolio’s collection demands, Ms Dawson experienced headaches and
heightened feelings of anxiety Other times, Portfolio’s payment demands caused Ms.
Dawson to begin blacking out; to experience the overwhelming sensation`that an unseen
force was suffocating her; and to feel terror that she was about to die`.

Tliis physical pain and severe emotional distress that Portfolio caused rendered Ms.
Dawson unable to complete the normal tasks of daily life

The physical pain and severe emotional distress that Portfolio: caused Ms. Dawson also
compelled her to stop answering her phone when she did not know the identity of the
caller, to lie down for long stretches in an attempt to calm herself,` and to take medication
On April 6, 2012, l\/ls. Dawson demanded through her attorneys the WilmerHale Legal
Services Center, that Portfolio cease all efforts to collect the so-called debt.

On September 9, 2012, Ms. Dawson learned of Portfolio’s Account Review lnquiry with
TransUnion LLC, a consumer reporting agency, which Portfolio had made on or about
September 26, 2010. Upon information and belief, Portfolio was not the owner or servicer

of any debt involving Ms.' Dawson when it made this inquiry

On October 5, 2012, Ms. Dawson, through her attorneys the WilrnerHale Legal Services

Center, mailed to Portfolio a demand for relief pursuant to M.G.L. c. 93A.

Portfolio has not made any response to Ms. Dawson’s demand letter. lt did not provide a
written tender of settlement within thirty days of mailing the demand letter pursuant to

M.G.L. C. 93A section 9(@)..

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v. CAUSES oF ACTroN _
Count iOne

Unfair or Deceptive Acts or Practices under M.G.L. c. 93A

29. l\/ls. Dawson reasserts and realleges each and every allegation set forth in the above

paragraphs as if billy set forth herein.

3 0. The Attomey General’s Regulations promulgated under the l\/lassachusetts Consumer

' Protection Act provide in relevant part that “[i]t shall constitute an unfair or deceptive act

or practice to engage in any of the following practices to collect or attempt to collect any

debt:”

(l) Any false representation that the creditor has . . . something of value for '
the debtor. -

(2) Any knowingly false or misleading representation in any communication
as to the character, extent or amount of the _debt, or as to its status in any~
legal proceeding . . . -

(8) Any false, deceptive, or misleading representation, communication, or
means in connection with the collection of any debt or to obtain
information concerning a debtor. . .

(23) Requesting any'information about the debtor or the debtor’s accounts or
assets other than information the creditor, in good faith, believes will
assist in the collection of the debt owed to the creditor.

940R,§ 7.07.

31.` The Attorney General’s Regulations also provide that “[i]t shall constitute an unfair or

deceptive act or practice for a creditor to fail to provide to a debtor . . . (c) A statement that

unless the debtor, within 30 days after receipt of the notice, disputes the validity of the

debt, or any portion thereof, the debt will be assumed to be valid by the creditor.” 940

ervin § 7.08(1)'(@).

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32. As set forth above, Portfolio’s conduct toward Ms. Dawson was unfair and deceptive in

many respects, including but not limited to the following acts:

il.

Portfolio attempted to collect a debt that Ms. Dawson did not in fact owe. ln its
collection attempts through incessant phone calls" and repeated mailings Portfolio
falsely represented to Ms. Dawson that she did still owe the debt and failed to notify
her that she had no obligation to pay.

Portfolio violated the notice requirement contained in 940 Cl\/lR § 7.08(1)'(c). While
that regulation requires debt collectors to notify consumers of their right to dispute
purported debts, Portfolio demanded that Ms. Dawson dispute the debt in writing,
thereby placing an unlawful limitation on Ms. Dawson’s right to dispute the debt
fortfolio falsely offered Ms. Dawson “lNCREDlBL_E SAVlNGS,” “SAVINGS,”
and other things of value Because Ms. Dawson did not owe the debt, she could win
no savings by paying it. Thus Portfolio’s “offer” to l\/ls. Dawson was a false
representation that it had something of value for her.

Portfolio made an inquiry-into Ms. Dawson’s credit on September 26, 2010. On v
information and belief, this was a bad faith request for information concerning l\/ls.
Dawson’s accounts or assets because Portfolio had not made reasonable efforts to
verify that Ms. Dawson owed the debt ln the alternative, Ms. Dawson’s_ credit
history could not have been _“information the cre`dito'r, in good faith, believes will

assist in the collection of the debt owed to the creditor” because there was no “debt

'Owed to the Crediror” by Ms. Dawson. 940 CMR § 7.07(23).

ln attempting to collect an alleged debt, Portfolio violated the following statutes as

described in further counts of this Cornplaint: the hair Debt Collection Practices Act_

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(15 U;S.C. §§ 1692e, 1692f); the Fair'Credit Reporting_Act (15 US..C §§ 1681b,
1681n, 1681o)i the Massachusetts credit reporting statutes (M.G.L. c.493 §§ 51, 63-
64). l l
Because of Portfolio’s unlawful "'conduct, including incessant phone calls and repeated
mailings l\;ls Dawson suffered panic attacks headaches,'bouts of extreme anxiety, and
severe emotional distress
Portfolio should reasonably have known that l\/ls. Dawson was particularly vulnerable to
emotional distress because of the obviousness of her disability and anxiety symptoms
Portfolio acted willfully by continuing to demand payment even after it received repeated
notice that I\/ls Dawson did not owe the alleged debt
Ms. Dawson therefore is entitled to relief in the form of multiple damages costs, and --
attorney’s fees
Count Two
Violations of the Fair Debt Collec_tion Practices Act, 15 U.S.C. §§ 1692 et seq.
Ms. Dawson reasserts and realleges each-and every allegation set forth in the above
paragraphs as if fully set forth herein.
The federal Fair Debt Collection Practices Act (FlJCPA) prohibits the following activities

(1.5 U.s.c. § 1692@); '

(2) The false representation of . . . (A) the character, amount, or legal status of
any debt. ~ '

{10) The use of any false representation or deceptive means to collect or
attempt to collect any debt or to obtain information concerning a
consumer. ' -

Furthermore the FDCPA states generally that “[a] debt collector may not use unfair or

unconscionable means to collect or attempt to collect any debt.” 15 U.S.C._§ l692f.

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40. The FDCPA also requires debt collectors to notify alleged debtors of their right to dispute

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. the debt by providing “a statement that unless the consumer, within thirty days after receipt
of the notice, disputes the validity of the debt . . . the debt will be assumed to be valid by
the debt collector.” 15 U.S.C-. § 1692g(a)(3). 1 l n n
As set forth above, Portfolio violated the FDCPA in numerous ways, including but not
limited to the following actions:

a. Portfolio falsely representedthe character, amount, or legal status of a debt by
attempting to collect a debt that Ms. Dawson had paid in full.

b. Portfolio violated the notice requirement contained in 15 U.S.C. § 1692g(a)(3).
While that provision requires debt collectors to notify consumers of their right to
dispute purported debts, Portfolio demanded that Ms. Dawson dispute the debt in
writing, thereby placing an unlawful limitation on Ms, Dawson’s right to dispute-
the debt. n

c. Portfolio used false representations or deceptive or unfair means to attempt to
collect a debt by disguising its demands for payment as a special, time-sensitive
offer which had to be taken advantage of quickly and which would redound in
monetary savings to the debtor.

Because of Portfolio’s unlawful conduct, Ms. Dawson- suffered panic attacks headaches
bouts of extremean_Xiety, and-severe emotional distress
l\/ls.v Dawson therefore is entitled to relief in the form 'of damages costs, and attorney’s

fees

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Qnuntllnm
Violations of the Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq.

44; Ms. Dawson reasserts and realleges each and every allegation set forth in the above
paragraphs as if fully set forth herein;

45. Under the Fair Credit Reporting Act (FRCA), a consumer reporting agency “rnay furnish a
consumer report under [speciiied] circurnstancesand no allier.” 15 U.S.C. § 1681b
(emphasis added). The statute imposes civil liability on persons who either provide or use 4
consumer reports for impermissible purposes 15 U.S.C. §§ 168ln (willful noncompliance),
16810 (negligent noncompliance).

46. Portfolio willfully or negligently used a consumer report for an impermissible purpose by:

a. Requesting and obtaining a consumer report on Ms. Dawson from, at least, one
consumer reporting agency, TransUnion LLC, on or about Septernber 26, 2010,
when Portfolio knew or should have known it was not the owner or servicer of any
debt owed by Ms. Dawson.

47. Therefore Ms. Dawson is entitled to recover damages costs and attomey’s fees

cannon
Violations of the Massachusetts Credit l{eporting Statutes, M.G.L. c. 93 §§ 51, 63-64

48. ._ Ms. Dawson reasserts and realleges each and every allegation set forth in the above
paragraphs as if fully set forth herein.

49. Under the l\/lassachusetts credit reporting statutes a consumer reporting agency “may
furnish a consumer report under [specified] circumstances and no other.” l\/l.Cr.Lj c. 93 §
51 '(emphasis added). The statute imposes civil liability on persons who either provide or

use credit reports for impermissible purposes M.G.L, c. 93 §§ 63 (willful noncompliance),

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64 (negligent noncompliance).
50. Portfolio' willfully or negligently iuseda consumer report for an impermissible purpose by:
a. Reque`sting and obtaining a consumer report on_l\/ls. 'Dawson from, at least,A one
consumer reporting agency, TransUnion LLC, on or about September 26, 2010,
when Portfolio knew or should have known it was not the owner or servicer of any
debt owed by Ms. Dawson
51. Therefore l\/ls. Dawson is entitled to recover damages costs', and attomey’s fees
l §_QLLED
lntentiorial or Neghgent lnfliction of Ernotional Distress
52. Ms. Dawson reasserts and realleges each and every allegation set forth in the above
paragraphs as if fully set forth herein.
53. As set forth above, Portfolio is liable to Plaintiff for intentional infliction of emotional
distress because.of the following actions: .
a. Portfolio incessantly demanded that Ms. Dawson pay a debt she did not owe.
b. Portfolio persisted in this activity despite Ms. Dawson’s protestations that she did
not owe the debt and despite'the fact that Portfolio’s own request for Ms. Dawson’s
consumer credit report on or about September 26, 2010, should'have given Portfolio
notice that Ms. Dawson did not owe the debt
c. Portfolio either knew the alleged debt was not collectable or willfully failed to-
examine whether the debt was oollectable, yet still continued to harass l\/ls. Dawson.
d. Portfolio~ either knew or reasonably should have known that Ms. Dawson was
disabled and especially vulnerable to suffering emotional distress as a result of suchl

harassment

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e. Portfolio relentlessly made`c_ollection demands via phone and in these demands
spoke to Ms. Dawson in an abusive and rude manner. »

f. Portfolio’s actions caused Ms. Dawson to suffer panic attacks including blackout
symptoms, a racing heartbeat, chest pain,_ and the sensation of being suffoc_ated;
headaches; bouts of extreme anxiety; and severe emotional distress

54 Aggressively attemptinth collect a debt from an obviously vulnerable person while
displaying a total disregard for the validity of the alleged debt, for the medical and
psychiatric condition of the alleged debtor, and for_basic civility constitutes extreme and
outrageous conduct that is beyond all possible norms of decency and is utterly intolerable
in a civilized community

55 . Therefore Portfolio intentionally or recklessly inflictedjemotional distress on Ms. Dawson.

56. ln the altemative, Portfolio negligently inflicted emotional distress on Ms. Dawson.

5 7. 'l\/ls. Dawson therefore is entitled to`recover actual and punitive damages

PLA]NTIFF DEMANDS TRIAL BY JURY ON ALL CLAIMS SO TRLABLE.
Wherefore, Plaintiff requests that the Couit, after Trial by Jury, enter and adjudge as follows:
(i) determine that Portfolio is liable to Plaintiff upon Plaintiff’s claims, and award actual,
consequential, statutory, multiple, and punitive damages as determined by the jury or
as the Court may deem appropriate;

(ii) award expert fees, costs, and attorney’s fees; and

(iii): grant such other and further relief as merited in the'interests ofjustice.

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Date: November 28, 2012

On the Complaint;
Elizabeth Graber, Rule 3:03 counsel
Michael Schorsch, Rule 3:03 counsel

Respectfully submitted,
Deborah Dawson

By Her Attorney, . _

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